Case 1:21-cr-00378-TJK Document 72 Filed 12/01/21 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
V.

ARTHUR JACKMAN,
PAUL RAE,
EDWARD GEORGE, JR.,
KEVIN A. TUCK, and
NATHANIEL A. TUCK,
(also known as “Nathan” and “Tito”),

Defendants.

CRIMINAL NO. 21-CR-378 (TJK)

VIOLATIONS:

18 U.S.C. §§ 1512(c)(2) and 2
(Obstruction of an Official Proceeding)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(B)

(Entering and Remaining in the Gallery of
Congress)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. §§ 641, 2

(Theft of Government Property)

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, ARTHUR

JACKMAN, PAUL RAE, EDWARD GEORGE, JR., KEVIN A. TUCK and NATHANIEL
Case 1:21-cr-00378-TJK Document 72 Filed 12/01/21 Page 2 of 5

A. TUCK (also known as “Nathan” and “Tito”) attempted to, and did, corruptly obstruct,
influence, and impede an official proceeding, that is, a proceeding before Congress, specifically,
Congress’s certification of the Electoral College vote as set out in the Twelfth Amendment of the
Constitution of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN,
PAUL RAE, EDWARD GEORGE, JR., KEVIN A. TUCK and NATHANIEL A. TUCK (also
known as “Nathan” and “Tito”) did knowingly enter and remain in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was temporarily visiting, without lawful
authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN,
PAUL RAE, EDWARD GEORGE, JR., KEVIN A. TUCK and NATHANIEL A. TUCK (also
known as “Nathan” and “Tito”) did knowingly, and with intent to impede and disrupt the orderly
conduct of Government business and official functions, engage in disorderly and disruptive
conduct in and within such proximity to, a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
Case 1:21-cr-00378-TJK Document 72 Filed 12/01/21 Page 3 o0f5

the Vice President was temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN,
EDWARD GEORGE, JR., and KEVIN A. TUCK willfully and knowingly entered and
remained in the gallery of either House of Congress, without authorization to do so.

(Entering and Remaining in the Gallery of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(B))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN,
PAUL RAE, EDWARD GEORGE, JR., KEVIN A. TUCK and NATHANIEL A. TUCK (also
known as “Nathan” and “Tito”) willfully and knowingly engaged in disorderly and disruptive
conduct within the United States Capitol Grounds and in any of the Capitol Buildings with the
intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House
of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a
committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN,

PAUL RAE, EDWARD GEORGE, JR., KEVIN A. TUCK and NATHANIEL A. TUCK (also
Case 1:21-cr-00378-TJK Document 72 Filed 12/01/21 Page 4of5

known as “Nathan” and “Tito”) willfully and knowingly paraded, demonstrated, and picketed in
any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, EDWARD GEORGE, JR.,
and NATHANIEL A. TUCK (also known as “Nathan” and “Tito”) committed and attempted to
commit an act to obstruct, impede, and interfere with law enforcement officers, that is officers
from the United States Capitol Police, lawfully engaged in the lawful performance of their official
duties, incident to and during the commission of a civil disorder which in any way and degree
obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, EDWARD GEORGE, JR.,
did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee
of the United States, and of any branch of the United States Government (including any member
of the uniformed services), and any person assisting such an officer and employee, while such
officer or employee was engaged in or on account of the performance of official duties, and where
the acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
Case 1:21-cr-00378-TJK Document 72 Filed 12/01/21 Page 5of5

COUNT NINE
On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN and
EDWARD GEORGE, JR., did embezzle, steal, purloin, knowingly convert to his use and the use
of another, and without authority, sold, conveyed and disposed of any record, voucher, money and
thing of value of the United States and any department and agency thereof, that is, an American
Flag and flagpole, which have a value of less than $1000.

(Theft of Government Property, in violation of Title 18, United States Code, Sections
641 and 2)

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
